741 F.2d 1086
    HODGE CHILE COMPANY, Appellant,v.KNA FOOD DISTRIBUTORS, INC., Kenneth E. Adelmann and HarryBrunsen, Appellees.HODGE CHILE COMPANY, Appellee,v.KNA FOOD DISTRIBUTORS, INC., Kenneth E. Adelmann and HarryBrunsen, Appellants.
    Nos. 83-2610, 83-2696.
    United States Court of Appeals,Eighth Circuit.
    Submitted June 12, 1984.Decided Aug. 23, 1984.Rehearing Denied Sept. 24, 1984.
    
      Joseph A. Fenlon, Clayton, Mo., A. Fuller Glaser, Jr., St. Louis, Mo., for Hodge Chile Co.
      Francis L. Ruppert, Terrance L. Farris, Clayton, Mo., for appellees/cross-appellants.
      Before ROSS, HENLEY and BOWMAN, Circuit Judges.
      ROSS, Circuit Judge.
    
    
      1
      This case involves the right to use the name "Hodge" in marketing chile products.  Jurisdiction exists by virtue of the Lanham Act.  15 U.S.C. Sec. 1121.
    
    
      2
      The district court prepared two opinions, one of which is published at 575 F.Supp. 210 (D.Mo.1983).  Hodge Chile Company appeals the district court's decision that KNA Food Distributors (KNA) is not infringing its federally registered "Hodge's" trademark or acting in unfair competition by marketing chile and tamales in grocery outlets under the name "O.T. Hodge Chile Parlor Chili" (or "Tamales").
    
    
      3
      KNA defends on the basis of a settlement agreement reached between Hodge Chile Company and O.T. Hodge Chile Parlors, Inc. in 1954.  The 1954 agreement, inter alia, transferred the right to use the name "O.T. Hodge Chile Parlors" to O.T. Hodge Chile Parlors, which right O.T. Hodge Chile Parlors assigned to KNA.
    
    
      4
      KNA cross-appeals, arguing that the district court erred in failing to award it attorney fees pursuant to 15 U.S.C. Sec. 1117.  KNA asserts that the requisite "exceptional circumstances" existed via the fact that the Hodge Chile Company obtained its registered trademark by use of a false affidavit.
    
    
      5
      We have carefully studied the record, including the district court's opinions and the briefs of the parties to the action.  We find no merit in the arguments for reversal, and accordingly affirm pursuant to Rule 14 of the Rules of this court on the basis of the district court's findings.
    
    